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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                               No. 14-70V
                                          (Not to be published)

*****************************
                                             *
DAWN NELSON,                                 *
                                             *
                    Petitioner,              *      Filed: June 19, 2015
                                             *
             v.                              *      Decision by Stipulation; Damages;
                                             *      Influenza (“Flu”) Vaccine;
                                             *      Pemphigus Vulgaris (“PV”)
SECRETARY OF HEALTH AND                      *
HUMAN SERVICES,                              *
                                             *
                    Respondent.              *
                                             *
*****************************
Ronald Craig Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner.

Debra A. Filteau Begley, U.S. Dep’t of Justice, Washington, DC, for Respondent

                                  DECISION AWARDING DAMAGES1

        On January 27, 2014, Petitioner Dawn Nelson filed a petition seeking compensation under
the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Petitioner alleges
that she suffered Pemphigus Vulgaris (“PV”) and related complications as a result of receiving an
influenza (“flu”) vaccine.

       Respondent denies that Petitioner’s PV and any related medical problems were caused by
the receipt of the flu vaccine. Nonetheless both parties, while maintaining their above-stated

1
  Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to the public.
(Id.)
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-10-' 300aa-34 (West
1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. ' 300aa.
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positions, agreed in a stipulation filed June 18, 2015, that the issues before them can be settled and
that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

         The stipulation awards:

                 A lump sum of $45,000.00, in the form of a check payable to petitioner. This amount
                 represents compensation for all damages that would be available under 42 U.S.C. §
                 300aa-15(a).

Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.3


         IT IS SO ORDERED.

                                                                     /s/ Brian H. Corcoran
                                                                        Brian H. Corcoran
                                                                        Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice renouncing their
right to seek review.

                                                          2
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